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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 JENNIFER NOSALEK, RANDY
 HIRSCHORN, and TRACEY HIRSCHORN,
 individually and on behalf of all others similarly       No. 1:20-cv-12244-PBS
 situated,

                            Plaintiffs,                   CLASS ACTION
                 vs.

 MLS PROPERTY INFORMATION
 NETWORK, INC., REALOGY HOLDINGS                          AUGUST 5, 2022
 CORP., HOMESERVICES OF AMERICA,
 INC., BHH AFFILIATES, LLC, HSF
 AFFILIATES, LLC, RE/MAX LLC, and
 KELLER WILLIAMS REALTY, INC.,

                            Defendants.



        MOTION TO COMPEL AS TO DEFENDANT REALOGY HOLDINGS CORP.

         Pursuant to Local Rule 37.1, Plaintiffs respectfully move this Court to require Defendant

Realogy Holdings Corp. (“Realogy”) to produce all documents relating to its nationwide

implementation of the “Buyer Broker Commission Rule” (the “Rule”). At a minimum, Realogy

should be required to produce documents in accord with the agreement reached by Plaintiffs and

every other Defendant on this issue.

         In support of this Motion, Plaintiffs respectfully submit the accompanying memorandum

of law and Exhibit A thereto.

                             REQUEST FOR ORAL ARGUMENT

         Plaintiffs respectfully request oral argument on this motion to respond to any arguments

raised by Realogy in any opposition it may file and to address any questions that the Court may

have.
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            CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 37.1

       As detailed in the accompanying memorandum, the undersigned hereby certifies pursuant

to Local Rule 37.1(b) that the provisions of Rule 37.1 have been complied with.



Dated: August 5, 2022                               Respectfully submitted,

                                                    /s/ Seth R. Klein
                                                    Douglas P. Needham, BBO No. 67101
                                                    Robert A. Izard (pro hac vice)
                                                    Craig A. Raabe (pro hac vice)
                                                    Seth R. Klein (pro hac vice)
                                                    Christopher M. Barrett (pro hac vice)
                                                    IZARD, KINDALL & RAABE, LLP
                                                    29 South Main Street, Suite 305
                                                    West Hartford, CT 06107
                                                    (860) 493-6292
                                                    (860) 493-6290 fax
                                                    dneedham@ikrlaw.com
                                                    rizard@ikrlaw.com
                                                    craabe@ikrlaw.com
                                                    sklein@ikrlaw.com
                                                    cbarrett@ikrlaw.com

                                                    Attorneys for Plaintiffs




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                                     Rule 7.1 Certification

       Pursuant to Local Rule 7.1(a)(2), counsel for Plaintiffs and for Realogy conferred by

correspondence, telephone and video conference as set forth in the accompanying memorandum

of law, and were unable to resolve the dispute raised in this motion.



 Dated: August 5, 2022                                Respectfully submitted,

                                                                    /s/ Seth R. Klein
                                                      Douglas P. Needham, BBO No. 67101
                                                      Seth R. Klein (pro hac vice)
                                                      Robert A. Izard (pro hac vice)
                                                      Craig A. Raabe (pro hac vice)
                                                      Christopher M. Barrett (pro hac vice)
                                                      IZARD, KINDALL & RAABE, LLP
                                                      29 South Main Street, Suite 305
                                                      West Hartford, CT 06107
                                                      (860) 493-6292
                                                      (860) 493-6290 fax
                                                      dneedham@ikrlaw.com
                                                      rizard@ikrlaw.com
                                                      craabe@ikrlaw.com
                                                      cbarrett@ikrlaw.com

                                                      Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I, Seth R. Klein, hereby certify that a true copy of the foregoing document filed through
the ECF system will be electronically sent to the registered participants as identified on the
Notice of Electronic Filing on August 5, 2022.


                                                    /s/ Seth R. Klein
                                                    Seth R. Klein




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